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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )                 Case No. 4:17-CR-00356-1-RWS
      vs.                           )
                                    )
                                    )
PAUL EVERETT CREAGER                )
                                    )
            Defendant.              )
____________________________________)

                MOTION OF THE UNITED STATES OF AMERICA
            TO APPLY BOND PROCEEDS TO RESTITUTION BALANCE

       COMES NOW Plaintiff, the United States of America, by and through its attorneys, Jeffrey

B. Jensen, United States Attorney for the Eastern District of Missouri, and Joshua M. Jones,

Assistant United States Attorney, and for its Motion to Apply Bond Proceeds to Restitution

Balance, states as follows:

       1.      In August 2017, Defendant Paul E. Creager (hereinafter, “Creager” or “Defendant”)

paid a $1,000 bond as a condition of his pre-trial release. See Docs. #7, 14.

       2.      On May 18, 2018, this Court issued a criminal judgment against Defendant. See

Doc. #58. As part of the Judgment, this Court ordered Defendant to pay $724,021.14 in restitution.

Upon entry of judgment, a lien arose in favor of the United States against all of Defendant’s

property and rights to property. See 18 U.S.C. § 3613(c). As of the date of this pleading, Defendant

still owes $724,024.14 in restitution.

       3.      Pursuant to 28 U.S.C. § 2044:
                                                 1
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               On motion of the United States attorney, the court shall order any
               money belonging to and deposited by or on behalf of the defendant
               with the court for the purposes of a criminal appearance bail bond
               (trial or appeal) to be held and paid over to the United States attorney
               to be applied to the payment of any assessment, fine, restitution, or
               penalty imposed upon the defendant. The court shall not release any
               money deposited for bond purposes after a plea or a verdict of the
               defendant's guilt has been entered and before sentencing except
               upon a showing that an assessment, fine, restitution or penalty
               cannot be imposed for the offense the defendant committed or that
               the defendant would suffer an undue hardship. This section shall not
               apply to any third party surety.

       4.      Pursuant to section 2044, the United States requests this Court issue an order

applying the bond paid by Defendant towards his outstanding criminal restitution balance.

       WHEREFORE, the United States prays this Court issue an order applying any and all funds

paid by Defendant as a bond for his pre-trial release be applied towards Defendant’s outstanding

criminal restitution balance.



                                              Respectfully submitted,


                                              JEFFREY B. JENSEN
                                              United States Attorney


                                              /s/ Joshua M. Jones
                                              JOSHUA M. JONES #61988 MO
                                              Assistant United States Attorney
                                              Thomas F. Eagleton U.S. Courthouse
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                                      Certificate of Service

       The undersigned hereby certifies that on October 11, 2018, the foregoing was filed

electronically via the Court’s CM/ECF system, and therefore served on all parties of record.

Further, the undersigned certifies that a true and accurate copy of the foregoing was sent via U.S.

mail, postage prepaid, on October 11, 2018, to the following:


               Paul Everett Creager
               2115 Oak Crest Manor Lane
               Ballwin, MO 63011



                                                               /s/ Joshua M. Jones
                                                               Assistant United States Attorney




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